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   1   Appear by Telephone Scheduling Conference and the Court having reviewed same,
   2
       hereby ORDERED:
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   4            1. Counsels for both Plaintiff and Defendant shall be allowed to appear

   5               by telephone at the Scheduling Conference.
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   7
       Dated:
   8
                                                    /s/ ____________________________
   9                                                       United States Judge
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